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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

 v.                                                      Case No. 1 :21-cr-292-RCL

 CHIRSTOPHER WORRELL,

        Defendant.


                                           ORDER

       The Clerk of the Court shall place into the record redacted versions of the following

documents on which the Court relied for its Order of Contempt [106]:

          1. A September 20, 2021, Unity Health C are C onsultation Request
             transmitted from Department of C orrections ("DOC ") to U.S.
             Marshals Service ("USMS").

          2. An email exchange between DOC and USMS occurring between
             September 17, 2021 and September 24, 2021.

          3. DOC Attorney Advisor Michelle K. Wilson's email response to
             USMS on October 8, 2021, upon receipt of the C ourt's Order to
             transmit required information to USMS.

          4. An email from the USMS Medical Management Branch with a
             timeline concerning communications between DOC and USMS
             regarding the need for Worrell' s hand surgery.

           5. A October 14, 2021, Unity Health C are C onsultation Request
              transmitted from DOC to USMS.

          6. An Electronic Medical Submission form submitted by the DOC to
             the USMS on October 14, 2021.

       IT IS SO ORDERED.



Date: --------                                                 Royce C. Lamberth
                                                               United States District Judge
